ae Case 2:12-cr-00017-WFN ECFNo.99_ filed 01/07/13 PagelD.399 Page 1 of 6

AO 245B (Rev. 09/11) Judgment in a Criminal Case
Sheet 1 Revised by WAED - 10/11

UNITED STATES DISTRICT COURT
Eastern District of Washington

UNITED STATES OF AMERICA AMENDED JUDGMENT IN A CRIMINAL CASE
V. US. DISTRICT COUR
SANDRA IRENE DUFFY Case Number: 2:12CR00017-001 EASTERN DisTRICTOF WASHINGTON
USM Number: — 12484-085 JAN 07 203°
Jeffry K. Finer SEAN F. McAVOY, CLERK |
> os UE!
Jate of Original Judgment 11/7/2012 Defendant's Attorney SPOKANE, WASHINGTON

Correction of Sentence for Clerical Mistake (Fed. R. Crim. P.36)

THE DEFENDANT:

YW pleaded guilty to count(s) 1 of the Indictment

(J pleaded nolo contendere to count(s)
which was accepted by the court.

CJ was found guilty on count(s)
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended - Count
21 USC. § 751(a) Escape from Custody 01/10/12 1
The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
(1 The defendant has been found not guilty on count(s)

[] Count(s) C) is [J are dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of an change of name, residence,
ly pai

or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are . If ordered to pay restitution,

the defendant must notify the court and United States attorney of material changes in economic circumstances.

* 11/6/2012

Date of Imposition of Judgment

LYLwh~—

Signature of Judge

Hon. Wm. Fremming Nielsen Senior Judge, U.S. District Court

Name and Title of Judge

Va 2 AdK?

Date

Case 2:12-cr-00017-WFN ECF No. 99 filed 01/07/13. PagelD.400 Page 2 of 6

AO 245B (Rev. 09/11) Judgment in Criminal Case
Sheet 2 — Imprisonment

Judgment -— Page 2 of 6

DEFENDANT: SANDRA IRENE DUFFY
CASE NUMBER: 2:12CR00017-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: 30 Months

With credit for any time served and to be served CONSECUTIVE to term imposed in 2:11CR00107-019.

iw The court makes the following recommendations to the Bureau of Prisons:

That Defendant be allowed to participate in the 500 hour residential drug treatment program as well as be designated to Danforth,
Connecticut facility.

WY The defendant is remanded to the custody of the United States Marshal.

[1] The defendant shall surrender to the United States Marshal for this district:
[] at Oam OO pm. on
[1] as notified by the United States Marshal.

[] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

C] before 2 p.m. on

[J as notified by the United States Marshal.

[] as notified by the Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL

Case 2:12-cr-00017-WFN ECF No. 99 filed 01/07/13 PagelD.401 Page 3 of 6

AO 245B (Rev. 09/11) Judgment in a Criminal Case
Sheet 3 — Supervised Release

3 6
DEFENDANT: SANDRA IRENE DUFFY Judgment—Page of
CASE NUMBER: 2:12CRO00017-001
SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : 3 Years

To be served CONCURRENT to term imposed in 2:11CR00107-019.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

C]_ The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

o Qa

The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, er seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

(1 The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment,

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) _ as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement.

Case 2:12-cr-00017-WFN ECF No. 99 filed 01/07/13 PagelD.402 Page 4 of 6
AO 245B (Rev. 09/11) Judgment in a Criminal Case
Sheet 3C — Supervised Release

Judgment—Page 4 of 6

DEFENDANT: SANDRA IRENE DUFFY
CASE NUMBER: 2:12CR00017-001

SPECIAL CONDITIONS OF SUPERVISION

14) You shall reside in a residential reentry center (RRC) for a period of up to 180 days. You shall abide by the rules and
requirements of the facility and shall participate in programs offered by the facility at the direction of the supervising officer.

15) You shall complete a mental health evaluation and follow any treatment recommendations of the evaluating professional which do
not require forced or psychotropic medication and/or inpatient confinement absent further order of the Court. You shall allow
reciprocal release of information between the supervising officer and treatment provider. You shall contribute to the cost of treatment
according to your ability to pay.

16) You shall submit your person, residence, office, or vehicle to a search, conducted by a U.S. probation officer, at a sensible time
and manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision. Failure to submit to
search may be grounds for revocation. You shall warn persons with whom you share a residence that the premises may be subject to
search.

17) You shall undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter into and
successfully complete an approved substance abuse treatment program, which could include inpatient treatment and aftercare. You
shall contribute to the cost of treatment according to your ability to pay. You shall allow full reciprocal disclosure between the
supervising officer and treatment provider. ,

18) You shall abstain from the use of illegal controlled substances, and shall submit to urinalysis testing, as directed by the supervising
officer, but no more than six tests per month, in order to confirm continued abstinence from these substances. .

19) You shall abstain from alcohol and shall submit to testing (including urinalysis and Breathalyzer), as directed by the supervising
officer, but no more than six tests per month, in order to confirm continued abstinence from this substance.

20) You shall not enter into or remain in any establishment where alcohol is the primary item of sale.

Case 2:12-cr-00017-WFN ECF No. 99 _ filed 01/07/13 PagelD.403 Page 5 of 6
AO 245B (Rev. 09/11) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

Judgment — Page 5 of 6

DEFENDANT: SANDRA IRENE DUFFY
CASE NUMBER: 2:12CR00017-001

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $100.00 $0.00 $0.00
[] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.

[] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shail receive an approximately proportioned ayment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered _ Priority or Percentage

TOTALS $ 0.00 $ 0.00

[] Restitution amount ordered pursuant to plea agreement $

[1 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[1 The court determined that the defendant does not have the ability to pay interest and it is ordered that:
(] the interest requirement is waived forthe [] fine [] restitution.

(| the interest requirement forthe [ fine [J restitution is modified as follows:

* Findings for the total amount of losses are required underChapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.

Case 2:12-cr-00017-WFN ECF No. 99 _ filed 01/07/13 PagelD.404 Page 6 of 6
AO 245B (Rev. 09/11) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

Judgment — Page 6 of 6

DEFENDANT: SANDRA IRENE DUFFY
CASE NUMBER: 2:12CR00017-001

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A  (] Lumpsum payment of $ due immediately, balance due

C1 not later than , or
[] in accordance Oe, OF D O Eo (© F below; or

B yw Payment to begin immediately (may be combined with []C, LJ] D, or WE below); or

C ( Paymentinequal —s——__—sé(.g., wee ly, monthly, quarterly) installments of $ __ «err a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D [J Paymentinequal _—_—_—___ (e.g, weekly, monthly, quarterly) installments of $ __ ss overra period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E [ Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F iw Special instructions regarding the payment of criminal monetary penalties:

Defendant shall participate in the Inmate Financial Responsibility Program. Defendant shall contribute 25% of her monthly
earnings while she is incarcerated.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate F inancial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[1] Joint and Several

Case Numbers (including defendant number) and Defendant and Co-Defendant Names, Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

] The defendant shall pay the cost of prosecution.

OD

The defendant shall pay the following court cost(s):

LC] The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) pena

ties, and (8) costs, including cost of prosecution and court costs.

